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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                            ENTERED
                                                                                             07/24/2019
IN RE:                                          §
MICHAEL VEACH; dba GLOBAL SLEEP                 §      CASE NO: 19-31275
TECHNOLOGIES; dba GLOBAL SLEEP                  §
HEADQUARTERS, LP; dba ARM                       §
ASSOCIATES, LP; dba EMBLEM                      §
RESOURCES, LLC; dba EMBLEM GROUP,               §
LLC, et al                                      §
        Debtor(s)                               §
                                                §      CHAPTER 7

                    ORDER DENYING APPLICATION TO EMPLOY

       This matter is before the Court on the Application to Employ (ECF No. 40) filed by the

Chapter 7 Trustee. The movant has failed to serve the instant application on all required parties

pursuant to Bankruptcy Local Rule 9013-1.

       THEREFORE, IT IS ORDERED that the Application to Employ is denied without

prejudice.


       SIGNED: 07/24/2019.


                                                ___________________________________
                                                Jeffrey P. Norman
                                                United States Bankruptcy Judge




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